Case 19-55422-wlh    Doc 78    Filed 06/04/21 Entered 06/04/21 07:19:33         Desc Main
                               Document      Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: June 3, 2021

                                        _____________________________________
                                                   Wendy L. Hagenau
                                              U.S. Bankruptcy Court Judge

_______________________________________________________________




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                         )
                                               )      CHAPTER 7
MARIANNE ELIZABETH DETLING                     )      CASE NO. 19-55422-wlh
                                               )
     Debtor.                                   )
_________________________________

   CONSENT ORDER GRANTING TRUSTEE’S SECOND MOTION TO
      EXTEND LIMITATIONS PERIOD UNDER 11 U.S.C. § 546

      This matter is before the Court on the Second Motion of the Chapter 7

Trustee to Extend the Limitations Period Pursuant to 11 U.S.C. §§546. See Dkt.

No. 77.

      Upon consideration of the Motion and consent of Debtor, the Court having

reviewed and considered the Motion, and it appearing that the relief requested in

the Motion is in the best interests of the Debtor, its bankruptcy estate, and all
                                           1
Case 19-55422-wlh       Doc 78    Filed 06/04/21 Entered 06/04/21 07:19:33   Desc Main
                                  Document      Page 2 of 3



creditors and other parties in interest; and sufficient notice of the Motion having

been given to the appropriate parties in interest; after due deliberation thereon, and

good cause appearing therefore, it is hereby

       ORDERED that the limitations period of 11 U.S.C. §546 for pursuing

avoidance and turnover actions against Debtor, individually or in her capacity as

Custodian of the bank account in the name of Debtor’s minor child established

pursuant to the Georgia Transfers to Minors Act, is extended through and including

September 1, 2021.

                                        [End of Order]

Prepared and presented by:

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Consented to by:

_/S/ (by Scott B. Riddle with express permission)
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Counsel for Debtor



                                                2
Case 19-55422-wlh     Doc 78    Filed 06/04/21 Entered 06/04/21 07:19:33   Desc Main
                                Document      Page 3 of 3



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